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Case 2:92-cv-02062-.]PI\/|-tmp Document 2027 Filed 07/14/05 Page"l""§)'f ` t Page|D 9682

mo BY _ _ °~‘-`"
IN THE UNITEI) sTATES DISTRICT COURT , 5
FOR THE WESTERN DISTRICT oF TENNE§§EWL “* m “ 0
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STERN DIVISION m mo

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UNITED STATES OF AMERICA,

Pla,intiff,

STATE OF TENNESSEE, ET AL.,
NO.: 92-2062-D/A
Defendants, and

PEOPLE FIRST OF
TENNESSEE,

lntervenors,
PARENT-GUARDIAN ASSOCIATION
OF ARLINGTON DEVELOPMENTAL
CENTER,

Intervenors.

VVWWVVWVVWWVVVVWVVVVWWVW

 

0RDER DENYING As MooT MoTIoN FoR DISBURSEMENT oF FINE MoNIEs
(dkc. # 1987)

 

Before the Court is the motion of Intervenor People First of Tennessee (“People First”) to
disburse fine monies to West Tennessee Family Solutions (“WTFS”). The parties to the action filed

a subsequent joint motion seeking the disbursement of fine monies to WTFS, on Which the Court

Thts document entered on the docket n 1 c/ f\r)\

with Rule 58 and/or 79{a} FF|CP on _-

Case 2:92-cv-O2062-.]PI\/|-tmp Document 2027 Filed 07/14/05 Page 2 of 5 Page|D 9683

has ruled. Accordingly, the Court denies as moot People First’s motion.

IT ls so 0RDERED this / g day ofJuly, 2005.

 

UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 2027 in
case 2:92-CV-02062 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

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Case 2:92-cv-02062-.]P|\/|-tmp Document 2027 Filed 07/14/05 Page 4 of 5 Page|D 9685

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Case 2:92-cv-02062-.]P|\/|-tmp Document 2027 Filed 07/14/05 Page 5 of 5 Page|D 9686

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Honorable Bernice Donald
US DISTRICT COURT

